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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE

 9
      UNITED STATES OF AMERICA,
10                                                              CASE NO. CR02-0423C
                                Plaintiff,
11                                                              ORDER
                        vs.
12
      KEITH E. ANDERSON, et al.,
13
                                Defendants.
14

15            This matter comes before the Court on Defendants James and Pamela Moran’s motion (Dkt.

16   No. 1253) requesting permission to travel outside the District of Colorado. Defendants seek

17   authorization to travel to San Diego, California on November 16, 2005, and return to Colorado by

18   November 23 to assist Pamela Moran’s father in moving to Colorado. The government does not

19   oppose the motion, except to request that Defendants be required to maintain daily contact with their

20   Pretrial Services Officer(s) for the duration of their travels.

21            Defendants’ motion is therefore GRANTED, as modified: Defendants are ORDERED to

22   maintain daily contact with their Pretrial Services Officer(s) for the duration of their travels.

23



                                                        A
              DATED this 27th day of October, 2005.
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                                                        UNITED STATES DISTRICT JUDGE
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     ORDER - 1
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